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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

NEIL GAIMAN, and
MARVELS AND MIRACLES, LLC,

             Plaintiffs,

      v.                                                 Case No.: 02-CV-00048-bbc

TODD MCFARLANE,
TODD MCFARLANE PRODUCTIONS, INC.,
TMP INTERNATIONAL, INC.,
MCFARLANE WORLDWIDE, INC., and
IMAGE COMICS, INC.,

             Defendants.


              [PROPOSED] ORDER FOR ENTRY OF FINAL JUDGMENT



       This action came for consideration before the Court upon the Joint Motion of Plaintiffs

Neil Gaiman and Marvels and Miracles LLC and Defendants Todd McFarlane, Todd McFarlane

Productions, Inc., TMP International, Inc., McFarlane Worldwide, Inc. and Image Comics, Inc.

(the “Parties”) for Entry of Final Judgment. The Parties have informed the Court that they have

resolved all matters between them by a fully executed Settlement Agreement and seek entry of

this Order For Entry of Final Judgment.

       Upon consideration of the motion,

IT IS HEREBY ORDERED AND ADJUDGED:

1. The Joint Motion for Entry of Final Judgment by plaintiffs Neil Gaiman and Marvels and

   Miracles, LLC, defendants Todd McFarlane, Todd McFarlane Productions, Inc., TMP

   International, Inc., and McFarlane Worldwide, Inc. (collectively, the “McFarlane

   Defendants”) and defendant Image Comics, Inc., is GRANTED.




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2. That FINAL JUDGMENT in this matter is hereby ENTERED:

             A.    in favor of plaintiffs against the McFarlane Defendants for a declaration that

      plaintiff Neil Gaiman is a joint, 50% owner of the copyrights to the publications Spawn

      issues 9 and 26 and Angela issues 1, 2 and 3 and the contents of those publications, the

      respective future rights and obligations of the Parties with respect thereto being resolved

      pursuant to the terms of their Settlement Agreement;

             B. dismissing all remaining claims and counterclaims with prejudice, the Parties

      having waived in their Settlement Agreement any right of appeal in respect of any such

      claims or counterclaims; and

             C. providing that each of the Parties is to bear his/its respective attorneys’ fees

      and costs.


             Dated this _______ day of ____________, 2012.




                                            _____________________________
                                            Barbara B. Crabb
                                            UNITED STATES DISTRICT JUDGE




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